Case No. 1:22-cv-00165-WJM-MDB Document 1 filed 01/20/22 USDC Colorado pg 1 of 15




                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLORADO

   Civil Case No. ______________________

   CHRISTOPHER PARKER, and
   RED MANGO ENTERPRISES LTD.,

          Plaintiffs,

   v.

   CHARIF SOUKI,

          Defendant.


                                         COMPLAINT


          Plaintiffs Christopher Parker and Red Mango Enterprises Limited (“Red Mango”),

   by and through their undersigned counsel, allege as follows:

                                       INTRODUCTION

          1.      Since early 2017, Christopher Parker, individually and through Red Mango,

   has invested millions of dollars in the publicly-traded shares of a company called Tellurian

   Inc. (“Tellurian”), with the encouragement of one of Tellurian’s founders and its Executive

   Chairman, defendant Charif Souki.

          2.      Soon after Parker and Red Mango began investing in the company,

   Tellurian’s share price began to drop. Souki nonetheless encouraged Parker to hold, and

   even increase, his position, blaming the drop on an aggressive short-selling campaign

   rather than the fundamentals of Tellurian’s business.




                                                1
Case No. 1:22-cv-00165-WJM-MDB Document 1 filed 01/20/22 USDC Colorado pg 2 of 15




          3.     By the summer of 2019, however, Tellurian’s share price had not recovered,

   and Parker informed Souki that he (on his own behalf, and through Red Mango) intended

   to sell his shares.

          4.     Upon hearing this, Souki embarked on a plan to fraudulently induce Parker

   into not selling his shares in Tellurian in order to try to save the company’s stock price from

   dropping even further.

          5.     Souki induced Parker to delay selling any shares in Tellurian by offering—

   unprompted—to indemnify Parker, individually and on behalf of Red Mango, against any

   losses through the end of 2020. But Souki was lying, and never planned to fulfill his

   promise. Among other things, Souki never even told his bank—from which he had taken

   out loans including loans secured by Souki’s own Tellurian stock and/or options—that

   Souki had any liability outstanding to Parker and Red Mango.

          6.     In August 2019, Parker and Souki exchanged text messages memorializing

   their agreement. Souki asked for information about Parker’s holdings, and then wrote to

   Parker: “Please keep this text. I will guaranty your capital by dec. 2020 [sic]. I’ll make up

   any capital deficiency you have at that date. Thanks for your help and confidence.”

          7.     In early 2020, Tellurian’s share price dropped dramatically, losing

   approximately 90% of its value in the span of about two months. The drop resulted in

   Souki himself being forced (by his bank) to sell tens of millions of shares of Tellurian. But

   Parker, on his own behalf and Red Mango, honored his agreement with Souki and

   maintained his position.




                                                 2
Case No. 1:22-cv-00165-WJM-MDB Document 1 filed 01/20/22 USDC Colorado pg 3 of 15




          8.    As the maturity date on Souki’s guarantee neared, in August 2020, Parker’s

   executive assistant sent Souki a detailed breakdown of Parker’s and Red Mango’s

   holdings in Tellurian, including the number of shares owned and the average cost per

   share, so that Souki’s obligation was clear. Souki acknowledged the information.

          9.     When December 2020 came around and Tellurian’s share price had still not

   recovered, Parker asked Souki to perform his part of the agreement: to indemnify him and

   Red Mango for their losses. Souki refused, even as he (falsely) told Parker that he

   intended to honor his commitment. Instead, Souki again attempted to delay Parker from

   going through with the sale and asked Parker to extend their agreement through the end

   of 2021.

          10.    Parker, on behalf of himself and Red Mango, met with Souki in person in

   Aspen, Colorado in February 2021 to discuss extending the agreement. Parker presented

   Souki with a written agreement that would have extended the term of the original

   agreement to December 31, 2021, and provided for interest at the rate of LIBOR plus

   0.167%. Souki agreed to the new terms but refused to sign the agreement, stating that

   he could not execute such an agreement in writing because he had taken bank loans and

   had not disclosed his liability to Parker and Red Mango to his bank. Because Parker and

   Souki had a long history, Parker accepted Souki’s explanation and agreed not to sell his

   or Red Mango’s shares throughout 2021 in exchange for the revised terms.

          11.    As of October 2021, Tellurian’s share price still had not recovered and

   Parker informed Souki that he needed “to fix a firm date to close out the guarantee.” Souki




                                               3
Case No. 1:22-cv-00165-WJM-MDB Document 1 filed 01/20/22 USDC Colorado pg 4 of 15




   confirmed that he and Parker had “talked in aspen,” but did not otherwise commit to paying

   Parker or fulfilling his contractual obligation.

          12.     Parker, on behalf of himself and Red Mango, has demanded Souki make

   the payment required of him but Souki has refused to do so.

                                           THE PARTIES

          13.     Christopher Parker is domiciled and resides in Los Angeles, California, and

   is also a citizen of Grenada. As of the filing of this Complaint, Parker personally owns

   approximately 3.3 million shares of Tellurian.

          14.     Red Mango is a private company that was incorporated in 2011 in the British

   Virgin Islands, with a registered office located at Mill Mall, Suite 6, Wickhams Cay 1, P.O.

   Box 3085 Road Town, Tortola, British Virgin Islands. As of the filing of this Complaint,

   Red Mango owns more than eight million shares of Tellurian.

          15.     Charif Souki is domiciled and resides in Aspen, Colorado, and on information

   and belief is also a citizen of Lebanon. Souki co-founded Tellurian Inc. and serves as the

   Executive Chairman of the Board.

          16.     Non-party Tellurian, Inc. is a Delaware corporation with its principal place of

   business in Houston, Texas. Tellurian, which was founded by Souki and Martin Houston,

   is an oil and gas exploration and production company that seeks to deliver natural gas to

   customers worldwide. After its merger with Magellan Petroleum Corporation, Tellurian

   traded on the NASDAQ exchange. As of November 2021, and through the present,

   Tellurian is traded on the New York Stock Exchange American under the ticker symbol

   “TELL.”



                                                      4
Case No. 1:22-cv-00165-WJM-MDB Document 1 filed 01/20/22 USDC Colorado pg 5 of 15




                                    JURISDICTION AND VENUE

          17.    This Court has subject matter jurisdiction over this action pursuant to 28

   U.S.C. § 1332 because the controversy exceeds the sum value of $75,000 and is between

   citizens of different States.

          18.    Venue is proper in this District and before this Court pursuant to 28

   U.S.C. § 1391(b)(1) and 1391(b)(2) because Souki resides in Aspen, Colorado, and

   events giving rise to Parker and Red Mango’s claims occurred in this District. Among

   other things, and as set forth more fully below, relevant meetings between the parties took

   place in Aspen, Colorado. Further, on information and belief, Souki was present in this

   District when he sent relevant communications, including text messages, to Parker.

          19.    This Court has personal jurisdiction over Souki under Colo. Rev. Stat. § 13-

   1-124 because he transacted business within the state, committed tortious acts in the state

   that form the basis for this action, and/or purposefully availed himself of the privileges of

   doing business in the state, as fully set forth herein.

                                     FACTUAL ALLEGATIONS

   A.     Parker and Red Mango Acquire Millions of Shares in Tellurian.

          20.    Several years ago, Parker became interested in learning more about

   Tellurian after a friend, whose wife sits on Tellurian’s board, mentioned that he should take

   a look at the company.          Parker’s friend mentioned that Tellurian would be a good

   investment over the next few years since it would be undertaking a new project. With his

   interest piqued, Parker flew to Aspen, Colorado to meet with Souki—the co-founder of




                                                 5
Case No. 1:22-cv-00165-WJM-MDB Document 1 filed 01/20/22 USDC Colorado pg 6 of 15




   Tellurian—and learn more about the company. The two enjoyed a few social dinners

   together and began a positive working relationship.

          21.      Over the course of the next few years, Parker started to build his holding in

   Tellurian, ultimately acquiring (personally and via Red Mango) more than eleven million

   shares, representing approximately 2% of the outstanding common stock of Tellurian.

   B.     Souki Induces Parker not to Sell His or Red Mango’s Shares by Promising to
          Indemnify Parker Against Any Losses.

          22.      In early 2017, Tellurian’s share price reached as high as $20.47 per share.

   But by August 2019, it had dropped to just more than $5 per share.

          23.      Parker grew concerned about his sizeable investment, and in August 2019,

   he informed Souki as a courtesy that he intended to sell his and Red Mango’s shares in

   light of Tellurian’s poor performance.

          24.      After Parker told Souki that he intended to sell, Souki embarked on a plan to

   trick Parker into not selling in order to try to save the company’s stock price from dropping

   even further.

          25.      Souki first sought to convince Parker not to sell by blaming the drop in share

   price on an aggressive short-selling campaign (which would be exacerbated by Parker

   selling his and Red Mango’s shares), and by explaining that Tellurian had certain (publicly-

   disclosed) business prospects that would boost the share price once finalized. But Parker

   informed Souki that he was resolved to sell his and Red Mango’s shares.

          26.      Souki then induced Parker to delay selling any shares in Tellurian by

   agreeing to indemnify Parker, individually and on behalf of Red Mango, against any losses

   through the end of 2020.


                                                  6
Case No. 1:22-cv-00165-WJM-MDB Document 1 filed 01/20/22 USDC Colorado pg 7 of 15




          27.      Specifically, on August 17, 2019, Parker exchanged text messages with

   Souki in which Souki asked Parker, “How much stock do you have and what is your [cost]

   basis?” Parker, who indicated he was “not at [his] computer,” estimated that he and Red

   Mango owned “5.5m shares and [his] net is circa 8[.]30 now.”

          28.      Souki replied: “Ok. Please keep this text. I will guaranty your capital by dec

   2020 [sic.]. I’ll make up any capital deficiency you have at that date. Thanks for your help

   and confidence.”

          29.      Because Parker believed what Souki had told him about Tellurian, and in

   reliance on Souki’s offer to indemnify him from any losses, Parker agreed to refrain from

   selling any shares, telling Souki: “Ok pal I got confidence in you, always here to lend an

   ear or advice if needed, let’s catch up in sept [sic] for dinner.”

          30.      In early 2020, Tellurian’s share price dropped sharply, falling to under $1

   per share in mid-March 2020. Souki himself was forced to liquidate approximately

   21,989,816 shares of Tellurian he beneficially owned in a series of transactions in late

   February and early March 2020. According to a Form 13D filed with the Securities and

   Exchange Commission on or about March 5, 2020, this “was an involuntary sale effected

   by a lender to satisfy certain loan requirements,” in connection with which a trust

   beneficially owned by Souki had pledged 26 million shares of Tellurian stock. According

   to the same SEC filing, Souki personally “pledged 25,000,000 [additional] shares of

   Common Stock as part of a collateral package to secure a loan for certain real estate

   investments.”




                                                  7
Case No. 1:22-cv-00165-WJM-MDB Document 1 filed 01/20/22 USDC Colorado pg 8 of 15




          31.     Despite these large sales of stock, Souki continued to minimize any

   concerns about Tellurian and its declining share price. In a text to Parker on or about

   March 1, 2020, Souki confirmed news about the trust’s sales, as well as substantial sales

   by the company’s co-founder, Martin Houston, but reassured Parker, “I’m not selling.”

          32.     By August 2020—a year after the parties’ agreement—Tellurian shares were

   still trading at under $1 per share. On or about August 25, 2020, therefore, Parker’s

   executive assistant sent Souki a detailed breakdown of Parker and Red Mango’s holdings

   in Tellurian, including the dates and average price per share for various transactions, in

   contemplation of Souki making good on his promise. Souki acknowledged receipt of the

   e-mail the next day.

          33.     Pursuant to these text message and e-mail exchanges, Parker and Souki

   agreed that Parker would not sell his or Red Mango’s shares in Tellurian between August

   2019 and through December 2020, and that at the end of the year 2020, Souki would pay

   Parker for any losses (personally or through Red Mango) as a result of a decline in stock

   price. That is, Souki agreed to pay Parker the difference between Tellurian’s share price

   at the end of 2020 and the amount of Parker and Red Mango’s initial investment (i.e., their

   cost basis).

          34.     This promise was a lie and Souki never in fact intended to follow through

   with his promise.




                                               8
Case No. 1:22-cv-00165-WJM-MDB Document 1 filed 01/20/22 USDC Colorado pg 9 of 15




   C.     Souki Breaches His Agreement with Parker and Red Mango.

          35.    At the end of 2020, Tellurian’s stock price had not recovered and Parker

   remained determined to sell his and Red Mango’s interest in the company. As of the close

   of trading on December 31, 2020, Tellurian was trading at $1.28 per share.

          36.    Parker asked Souki to perform his part of the agreement—to indemnify him

   and Red Mango for their losses—but Souki refused, and instead attempted again to delay

   Parker from going through with the sale. This time, Souki asked Parker to extend their

   arrangement for another year—until the end of 2021—explaining that he anticipated the

   stock price to recover. Parker was potentially interested in Souki’s offer to extend the

   arrangement for another year, but told Souki he would only agree to it if Souki paid interest

   for the additional period. Additionally, Parker wanted to execute any amendment to the

   original agreement in writing.

          37.    Therefore, in February 2021, Parker (on behalf of himself and Red Mango)

   and Souki met in person in Aspen, Colorado. At the meeting, Parker presented Souki with

   a written agreement that would have extended the term of the original agreement to

   December 31, 2021, and provided for interest at the rate of LIBOR plus 0.167%.

          38.    At the meeting, Souki agreed to the new terms but refused to sign the

   agreement.    He told Parker that he agreed to the terms but could not execute an

   agreement in writing because he had taken bank loans and had not disclosed his liability

   to Parker and Red Mango to his bank—further indication that Souki never intended to

   indemnify them for their losses and knew that such a promise was false when made.




                                                9
Case No. 1:22-cv-00165-WJM-MDB Document 1 filed 01/20/22 USDC Colorado pg 10 of 15




          39.    Because Parker and Souki had a long history and Parker remained a

   believer in Tellurian’s core business model, Parker accepted Souki’s explanation. As a

   result, Parker and Souki agreed that Parker would not sell his or Red Mango’s interest in

   Tellurian throughout 2021 so that Souki had more time to turn around the company’s

   sagging share price.

          40.    Throughout 2021, Tellurian’s share price remained low. As of October 2021,

   the share price hovered just above $3 per share. Therefore, Parker informed Souki that

   he needed to close out his position and that Souki had to cover his losses pursuant to their

   agreement.

          41.    On October 12, 2021, Parker texted Souki that he needed “to fix a firm date

   to close out the guarantee.” He reminded Souki that he “extended this on now past a

   year,” and while Parker was Souki’s “number one supporter, . . . it can’t keep going on.”

          42.    Souki confirmed that he and Parker had “talked in aspen,” and that there

   was no need to revisit the topic, but did not otherwise commit to paying Parker or fulfilling

   his obligation.

          43.    Since that date, Parker, on behalf of himself and Red Mango, has demanded

   that Souki make the payments required of him under the contract. However, Souki has

   failed to do so in breach of his agreement.

          44.    As of the close of trading on December 31, 2021, Tellurian was trading at

   $3.08 per share.

          45.    As of the close of trading the day before this complaint was filed,

   Wednesday, January 19, 2022, the share price of Tellurian was $2.98 per share.



                                                 10
Case No. 1:22-cv-00165-WJM-MDB Document 1 filed 01/20/22 USDC Colorado pg 11 of 15




          46.    As a result of holding their Tellurian shares in reliance on Souki’s promises,

   Parker and Red Mango sustained tens of millions of dollars in losses.

                                          COUNT ONE
                                       Breach of Contract

          47.    Plaintiffs repeat and reallege the allegations above, as if fully restated

   herein.

          48.    Souki entered into a valid, binding contract with Parker, on behalf of himself

   and Red Mango.

          49.    Parker, on behalf of himself and Red Mango, has performed all of the

   material obligations under the agreement in that neither Parker nor Red Mango sold their

   shares in Tellurian during the relevant time period.

          50.    Souki breached the agreement because he failed to indemnify Parker, on

   behalf of himself and Red Mango, for his losses.

          51.    As an actual and proximate result of Souki’s breaches, Parker and Red

   Mango suffered injury in an amount to be determined at trial.

                                        COUNT TWO
                                    Fraudulent Inducement

          52.    Plaintiffs repeat and reallege the allegations above, as if fully restated herein.

          53.    During the negotiations leading up to the agreement whereby Parker, on

   behalf of himself and Red Mango, agreed not to sell his or Red Mango’s shares in

   exchange for Souki’s agreement to indemnify Parker for his and Red Mango’s losses,

   Souki made a material false misrepresentation of fact to Parker.

          54.    Specifically, Souki told Parker that if Parker refrained from selling his and



                                                 11
Case No. 1:22-cv-00165-WJM-MDB Document 1 filed 01/20/22 USDC Colorado pg 12 of 15




   Red Mango’s shares of Tellurian, Souki would indemnify him for his losses.

          55.    Further, Souki continued to placate Parker’s concerns about Tellurian’s

   declining share price by assuring him that Souki was “not selling,” despite the fact that the

   other co-founder of the company, Martin Houston, was selling off millions of shares, and

   a trust had sold 17 million shares beneficially owned by Souki.

          56.    Souki made the material misrepresentation that he would indemnify Parker

   for his losses with the intent to induce Parker to rely on his assurances so that Parker

   would not sell his or Red Mango’s shares in Tellurian. As a result, Souki would get the

   windfall of the company’s share price not dropping further than it already had, which

   benefited Souki both professionally (as Tellurian’s co-founder and Executive Chairman)

   and financially (as Souki both owned substantial holdings in Tellurian and had borrowed

   against his interest in Tellurian and risked further margin or collateral calls if the share

   price continued to drop).

          57.    Souki’s misrepresentation that he would pay Parker for his losses was

   material, and Souki knew that the misrepresentation was false at the time he made it.

          58.    Parker, who had long supported Souki’s success in Tellurian, justifiably

   relied on Souki’s misrepresentation given the relationship that the two had developed over

   many years, and subsequently entered into, and then extended, a contract with Souki and

   agreed not to sell his or Red Mango’s shares.

          59.    As a direct and proximate cause of Souki’s fraud and Parker and Red

   Mango’s reliance on Souki’s misrepresentation, Parker and Red Mango suffered damages

   in an amount to be determined at trial.



                                                12
Case No. 1:22-cv-00165-WJM-MDB Document 1 filed 01/20/22 USDC Colorado pg 13 of 15




                                          COUNT THREE
                                       Promissory Estoppel

          60.      Plaintiffs repeat and reallege the allegations above, as if fully restated

   herein.

          61.      Souki promised Parker that he would indemnify Parker for his and Red

   Mango’s losses in exchange for Parker’s agreement not to sell his or Red Mango’s shares

   in Tellurian.

          62.      Souki should have reasonably expected that his promise to indemnify Parker

   for his and Red Mango’s losses would induce Parker to not sell his or Red Mango’s shares

   in Tellurian during the relevant time period.

          63.      Parker, who had long supported Souki’s success in Tellurian, reasonably

   relied on Souki’s promise given the relationship that the two had developed over many

   years, and subsequently refrained from not selling his or Red Mango’s shares during the

   relevant time period.

          64.      As a direct and proximate result, Parker and Red Mango suffered injury in

   an amount to be determined at trial, and therefore, Souki’s promise must be enforced to

   prevent injustice.

                                         COUNT FOUR
                             Unjust Enrichment [in the Alternative]

          65.      Plaintiffs repeat and reallege the allegations above, as if fully restated

   herein.

          66.      Souki made a material false misrepresentation of fact to Parker when he

   told Parker he would indemnify him, on behalf of himself and Red Mango, for his losses



                                                   13
Case No. 1:22-cv-00165-WJM-MDB Document 1 filed 01/20/22 USDC Colorado pg 14 of 15




   but had no intent on doing so. Further, Souki continued to placate Parker’s concerns

   about the declining share price by assuring him that Souki was “not selling,” despite the

   fact that the other co-founder of the company, Martin Houston, was selling off millions of

   shares, and a trust had sold 17 million shares beneficially owned by Souki.

          67.    Parker would not have refrained from selling his or Red Mango’s shares in

   Tellurian had he been aware that Souki was not going to indemnify him.

          68.    Souki inadvertently, negligently, or recklessly made such misrepresentation

   and failed to disclose material facts that were available to him.

          69.    As a result, Souki was unjustly enriched when he prevented Parker from

   selling his or Red Mango’s shares in Tellurian, both professionally (as Tellurian’s co-

   founder and Executive Chairman) and financially (as Souki both owned substantial

   holdings in Tellurian and had borrowed against his interest in Tellurian and risked further

   margin or collateral calls if the share price continued to drop).

                                  DEMAND FOR JURY TRIAL

          Parker and Red Mango demand a jury trial on all claims for which trial by jury is

   available.

                                     DEMAND FOR RELIEF

          WHEREFORE, Parker and Red Mango demand the Court enter judgment as

   follows:

          A.     For compensatory damages in an amount to be determined at trial;

          B.     For punitive damages against Souki at least equal to compensatory

                 damages, in an amount to be determined at trial;



                                                14
Case No. 1:22-cv-00165-WJM-MDB Document 1 filed 01/20/22 USDC Colorado pg 15 of 15




            C.      For pre-and-post judgment interest as appropriate;

            D.      For all costs and fees incurred in prosecuting this Complaint; and

            E.      For such other and further relief as this Court deems just and proper.


   Dated:        January 20, 2022
                                                       Respectfully Submitted,

                                                       BOIES SCHILLER FLEXNER LLP

                                               By:     /s/ Matthew L. Schwartz               .
                                                       Jonathan D. Schiller*
                                                       Matthew L. Schwartz
                                                       Lauren M. Goldman*
                                                       55 Hudson Yards
                                                       New York, New York 10001
                                                       Telephone: (212) 446-2300
                                                       Facsimile: (212) 446-2350
                                                       jschiller@bsfllp.com
                                                       mlschwartz@bsfllp.com
                                                       lgoldman@bsfllp.com

                                                       * Application for admission forthcoming




                                                  15
